
356 F.Supp.2d 1126 (2003)
Cynthia DUNCAN, Plaintiff,
v.
MANAGER, DEPARTMENT OF SAFTY, CITY AND COUNTY OF DENVER, and David Michaud, individually, Defendants.
No. CIV.A. 99-M-1299.
United States District Court, D. Colorado.
May 8, 2003.
*1127 Patrick Francis Carrigan, Faegre &amp; Benson, LLP-Boulder Colorado, Boulder, CO, David Joel Dansky, Chambers Dansky &amp; Mulvahill, Denver, Co, Leslie C. Hansen, Leslie C. Hansen, P.C., Denver, CO, for Cynthia Duncan.
*1128 Charles L. Casteel, Janet Savage, Davis, Graham &amp; Stubbs, Denver, CO, Daniel E. Friesen, Hale Friesen, LLP, Denver, CO, Terrance R. Kelly, James E. Hubbell, Kelly/Haglund/Garnsey &amp; Kahn LLC, Fenver, CO, for Denver Dept. of Safety Manager.

ORDERS ON MOTIONS FOR SUMMARY JUDGMENT
MATSCH, District Judge.
Cynthia Duncan began her employment with the Denver Police Department ("DPD") in 1979. Her first assignment after graduating from the Denver Police Academy was in District 4 where she served until 1984 when she transferred to District 1. In 1988, she became a detective and was assigned to the Crimes Against Property Department within the Detective Bureau. She transferred to the Crimes Against Persons Department in a career development move in 1991 where she served until July, 1995, when she moved to the Internal Affairs Bureau. Ms. Duncan was promoted to Sergeant. Following normal practice, that promotion required that she be reassigned to street, duties and she went back to District 4.
On April 14, 1998, Ms. Duncan filed a charge of sex discrimination and retaliation with the Equal Employment Opportunity Commission ("EEOC"). In that charge, she made the following allegations:
I. PERSONAL HARM: During the course of my employment as a Police Officer, I have been subjected to sexual harassment, retaliation and different terms and conditions of employment.
II. RESPONDENT'S DEFENSE: Despite my complaints to my superiors and the Department of Internal Affairs, no effective action has been taken.
III. DISCRIMINATION STATEMENT: I believe that I have been discriminated against because of my gender, female, and in retaliation for my having complained of discrimination, inasmuch as:
a. My co-workers circulated sexual gossip about me and made sex innuendos about my having affairs with several superiors.
b. An anonymous letter with sexual references about me was sent to the home of one of my co-workers, with threats of sending one to my house, stating that receipt of the letter will cause my husband to kill me.
c. I was placed under surveillance by one of my co-workers.
d. My supervisor told me that I would have to submit a picture of my bruised buttocks, if I wanted to file a complaint of physical assault against my co-worker.
e. Derogatory names were used by one of my supervisors in refer female anatomy.
f. One of my supervisors has a history of using derogatory comments about women, as does one of my peers.
g. Other female officers are also harassed.
h. The harassment is pervasive and department-wide and represents a continuing pattern of harassment.
Ms. Duncan was transferred to the DPD Training Academy in August, 1999, and in December, 1999, she was transferred to Traffic Operations in the Photo Radar Unit. Ms. Duncan went on medical leave in June, 2000,[1] and filed the complaint in this *1129 lawsuit on July 8, 1999. Ms. Duncan was given a disability retirement in the summer of 2000.
The defendants filed motions for summary judgment which have been fully briefed with the submission of deposition testimony and exhibits. Oral argument was heard. There are many disputes concerning the facts. Accordingly, all of the proposed evidence must be considered in the light most favorable to the plaintiff without making credibility determinations on disputed testimony.
The City contends that the Title VII claims should be dismissed because they are barred by the time limitation requiring that the administrative charges must be filed no later than 300 days following discriminatory or retaliatory conduct. Accordingly, it is argued that the court should consider only conduct occurring on or after June 18, 1997. Both defendants argue that the claims under 42 U.S.C. § 1983 are barred by the two-year statute of limitations. Additionally, both defendants contend that the plaintiffs proffered evidence is not sufficient for a reasonable jury to find liability against either of them for gender discrimination based on a hostile work environment or for retaliation for complaints because the complained of conduct was not sufficiently severe and pervasive to affect Ms. Duncan's terms and conditions of employment and because no causal connection has been shown between her complaints and any subsequent adverse employment action.
The time limitations under Title VII must be considered under the continuing violation doctrine announced by the Supreme Court in National Railroad Passenger Corp. v. Morgan, 536 U.S. 101, 122 S.Ct. 2061, 153 L.Ed.2d 106 (2002).
In that case, the Court recognized a difference between discrete discriminatory and retaliatory acts and a hostile work environment claim, holding that because a hostile work environment requires proof of repeated discriminatory conduct, the claim is not necessarily barred by the statutory time limitations. More specifically, the court held that:
A charge alleging a hostile work environment claim, however, will not be time barred so long as all acts which constitute the claim are part of the same unlawful employment practice and at least one act falls within the time period.
Id. at 122, 122 S.Ct. 2061.
In applying that ruling, this court must analyze the proposed evidence to determine whether the plaintiff can establish the essential elements of a hostile work environment claim as developed by the opinions deciding Meritor Savings Bank, FSB v. Vinson, 477 U.S. 57, 106 S.Ct. 2399, 91 L.Ed.2d 49 (1986), Harris v. Forklift Systems, Inc., 510 U.S. 17, 114 S.Ct. 367, 126 L.Ed.2d 295 (1993) and Faragher v. Boca Raton, 524 U.S. 775, 118 S.Ct. 2275, 141 L.Ed.2d 662 (1998).
As Justice Thomas wrote in Morgan, the statutory language of Title VII prohibits discriminatory employment practices and a hostile sexual work environment becomes a discriminatory practice as a result of "the cumulative [e]ffect of individual acts." Morgan at 115, 122 S.Ct. 2061. In Harris, the Court repeated the operative language from Meritor that Title VII is violated when the workplace is permeated with "discriminatory intimidation, ridicule, and insult" that is "sufficiently severe or pervasive to alter the conditions of the victim's employment and create an *1130 abusive working environment." Harris at 21, 114 S.Ct. 367 (internal quotation marks omitted). The statute of limitations defense and the viability of the plaintiffs Title VII claim in this case depend upon a detailed factual analysis. The Tenth Circuit Court of Appeals opinion in Gross v. Burggraf Const Co., 53 F.3d 1531 (10th Cir.1995) is helpful as guidance.
In her response brief, the plaintiff has listed 58 events claimed to be acts of gender harassment with references to evidentiary support for them. These allegations are grouped according to Ms. Duncan's years of service in her departmental assignments. The City's briefs respond to these allegations with references to the evidentiary record regarding DPD's responses to the complaints made by the plaintiff during her career. A chart summarizing these submissions, attached as Appendix A, demonstrates that the plaintiff is unable to connect these events into a timely, actionable discriminatory employment practice.[2]
The most significant conduct occurred during Ms. Duncan's first assignment to Division 4. Her descriptions of the conduct of a Captain and co-workers could be considered to be of sufficient severity, frequency and hostility as to be actionable as a discriminatory work environment. There was no continuing pattern of the same types of events when she was in District 1 and she advanced her career by becoming a detective and received a promotion to sergeant.
The events occurring after 1984 are sporadic and disconnected with the exception of the rumors concerning improper relationships between the plaintiff and command officers. Rumors of heterosexual intimacy will not ordinarily be considered gender discrimination because both men and women are victimized. The argument here is that such rumors disadvantage women in the workplace when the implication is that the only way women can advance their careers is by granting sexual favors to the men empowered to make promotion decisions. The clearest evidence of rumors about Ms. Duncan and her superior officers are two anonymous letters, one addressed to the Mayor. Read in full context, those messages are political attacks on the leadership of the DPD and their abuse of authority in which their conduct with Ms. Duncan is but an example.
The truth or falsity of these rumors of impropriety cannot be determined on this record. The plaintiff has admitted frequent telephone calls, luncheon engagements and other contacts which could easily be interpreted as indications of romantic relationships. When there is a factual basis for a reasonable inference of impropriety as a result of a woman's voluntary conduct, it would not be reasonable to find that other workers' comments and suggestions about such a relationship were motivated by gender discrimination or a hostility toward women in the workplace. Moreover, there is no showing that these persistent rumors caused any *1131 adverse employment decisions or altered the terms and conditions of the plaintiffs employment. The rumors were about her special relationship with the men who had authority to advance her career and there is nothing to suggest that they were influenced negatively against the plaintiff. Notably, Heather Coogan testified that she too was subject to similar rumors during her long career with the DPD and she rose to the rank of Deputy Chief of Police, second in command of the department.
Ms. Duncan suggests that she did not advance to lieutenant because of some possible bias against her by unnamed persons but her evidence is wholly speculative on this point.
As the events complained of do not constitute one unlawful employment practice under Morgan, those events which occurred before June 18, 1997 are untimely. Because Ms. Duncan grouped the events into blocks consisting of several years, based on the record provided, she has only established a few listed events after June 18, 1997, none of which is actionable. For example, as previously discussed, the rumors about her and command officers were gender neutral. Further, the sergeant who made remarks about her at the Breakfast King Restaurant was investigated and disciplined and the subordinate officer who made the crude remark in June, 1999 was reprimanded.
The DPD had a policy prohibiting sexual harassment and an enforcement procedure for complaints. Ms. Duncan made informal complaints to supervisors and filed formal complaints with the Internal Affairs Bureau ("IAB"). Except for the first event listed by Ms. Duncan, each of the IAB complaints was investigated and disciplinary action was taken against proven offenders. The plaintiff complains that some investigations were inadequate. Illustratively, she says that her complaint against another officer for slapping her buttock was not investigated when she refused to permit photographing the bruises because she did not want the files to include such a picture. Photographing a physical injury is a standard procedure and Ms. Duncan's refusal prevented the IAB from obtaining corroborating evidence of the alleged conduct. That was not an unreasonable response. The plaintiff has failed to demonstrate that the disciplinary actions taken were not effective to prevent reoccurrences of misconduct by the offenders.
The plaintiff asserts that the City failed to provide adequate training to prevent violation of its policy. The evidence does not support that claim.
The City is not liable for the sporadic and individual workers' offensive misconduct under Faragher, supra and Burlington Indus., Inc. v. Ellerth, 524 U.S. 742, 118 S.Ct. 2257, 141 L.Ed.2d 633 (1998).
The plaintiff does not have a viable claim for a Fourteenth Amendment denial of equal protection against the City for the same reasons that defeat her Title VII claims, although, based on the two-year statute of limitations, only incidents on or after July 8, 1997 are timely.
In the Morgan opinion, the Court ruled that the defendant employer in a hostile sexual harassment case may raise the equitable defenses of laches, waiver and estoppel. As shown in Appendix A, Ms. Duncan does not remember many of the specifics of the events complained about over nearly twenty years of her employment. The City is unable to obtain evidence to rebut or contradict the plaintiffs testimony when she is unable to be specific about time, places and persons present. Some of the officers are now unavailable. It would be inequitable to present Ms. Duncan's accounts of these events to a jury when the defendant cannot *1132 produce evidence to challenge her testimony when that inability results from Ms. Duncan's unreasonable delay in filing her EEOC charges and this civil action.
David Michaud seeks dismissal of the Fourteenth Amendment claim against him on the same grounds as the City and on the additional claim that he is entitled to qualified immunity. The essential element of the case against Mr. Michaud is that during his tenure as Chief of Police he failed to take effective action to prevent the sexual harassment of Ms. Duncan and other women officers. The findings concerning the adequacy of the City's policy, as summarized in Appendix A, defeat that claim. The proffered evidence is insufficient to establish that David Michaud directly discriminated against Ms. Duncan or took any retaliatory action against her. Mr. Michaud's alleged actions regarding the rumors were gender neutral and directed to dispelling the rumors, only one of which involved Ms. Duncan. His action in transferring Ms. Duncan, with the concurrence of Deputy Chief Heather Coogan, to the Academy was for her safety and Ms. Duncan testified the only vacant position there at the time was a technician spot. Upon the foregoing, it is
ORDERED that the City's Motion for Summary Judgment and David Michaud's Motion for Summary Judgment are granted. The clerk will enter a judgment dismissing the plaintiffs claims against both defendants with an award of costs to the defendants.

APPENDIX A

             CHART SUMMARIZING THE PLAINTIFF'S ALLEGATIONS OF HARASSING EVENTS
                         Duncan v, Manager, Dept. of Safety et al.
                                   Civil Action No. 99M1299
No.   Assignment         Allegations of                       Paraphrased Testimony             Complaints and        Comment
                         Harassing Events                     and Exhibits                      Responses
1      District Four    "Duncan was sexually                  While still assigned a training   She told her TO      No date given.
       (1979-1984)       assaulted by a                       officer ("TO") and working        the next day,        Assignment
                         male police officer in               late, she walked out the          they went down       with a TO was
                         a police department                  back door and went to her         to Internal          at the beginning
                         parking lot."                        car. A large officer who was      Affairs and "I       of her
                                                              hiding in the back of the         was basically        employment.
                                                              building came at her, started     told to shut up."
                                                              touching her, pulling on her
                                                              clothes, pushing her to him.
                                                              She was scared and finally
                                                              got to her car.
2      District Four    "Duncan received                      Anonymous letters from            Based on Duncan's     No date given.
       (1979-1984)      letters in her police                 within the department were        can's testimony,      Response
                        department mail box                   put in her locker about how       there was an          appears to have
                        indicating the author                 they were going to do despicable  investigation         been
                        was going to                          cable acts to her, then cut up    about the letters     reasonable.
                        rape her, kill her,                   her body and throw the            she was receiving
                        cut up her body and                    parts over Denver.               They found
                        scatter the pieces                                                      one of the authors
                        around the city."                     They were triggered by            and fired
                                                              hatred for police women.          him. (No testimony
                                                                                                cited on
                        It was believed there were                                              who initiated
                        two different authors of two                                            investigation.)
                        two  different letters. One of the
                        authors was discovered and
                        fired. No one else was
                        found.
3    District Four     "Police officers, with                 "You would get in your police    Duncan did not         No dates given.
     (1979-1984)        whom Duncan was                       car, a policeman would           report and it
                        partnered, groped                     have his hand down on the        was not the subject    One officer was
                        her while on duty by                  seat, when you sit down, he      of an IAB              fired. The other


*1133
                        placing their hands,                  would play with your rear        investigation. It      officer who
                        palm up, in her car                   end."                            is not clear why       ceased his conduct
                        seat so that she                                                       one officer was        is the same
                        would sit on the                      The plaintiff named two          fired.                 officer who was
                        open hand.                            officers. One was fired.                                fired in No. 2.
                                                              The other one stopped when
                                                              she told him to stop.
                                                              Those were the only times
                                                              that happened to her. It
                                                              was attempted many more
                                                              times but she was smart
                                                              enough so they would not
                                                              get away with it.
                                                              "... it happened with other
                                                              people. It is endless. I
                                                              can't remember everybody.
                                                              It was a long time ago."
                                                              She "was brand new" at the
                                                              time.
4      District Four    "A fellow officer                     In 1983 an officer pulled his     No indication         This occurred
       (1979-1984)       deliberately exposed                 penis out of his pants; she       this was              when they were
                         his penis to Duncan,                 told him it was inappropriate;    reported.             going to have a
                         making the comment                   it made him mad; he                                     choir practice,
                        `isn't this                           started to tell people she had                          some people
                         nice'."                              sex with him all the time.                              went for more
                                                                                                                      beer, she and
                                                                                                                      the officer were
                                                                                                                      waiting for other
                                                                                                                      people to
                                                                                                                      come. This
                                                                                                                      does not appear
                                                                                                                      to have occurred
                                                                                                                      while
                                                                                                                      the plaintiff was
                                                                                                                      working.
5      District Four    "Talk by male police                  Every male officer she            No indication         This is too
       (1979-1984)       officers about their                 worked with would tell her        this was              indefinite to
                         sex lives was                        about how his wife did not        reported.             constitute
                         routine."                            understand him and he slept                             hostile and abusive
                                                              on the couch; setting her up                            conduct.
                                                              for a sexual rendezvous.
                                                              Almost all of them did; she
                                                              did not recall any names.
                                                              She did not even "log it";
                                                              did not even take note of it
                                                              because it was so common.
                                                              This happened in District
                                                              Four, early years (`79=84),
                                                              because she worked solo in
                                                              District One.
6      District Four    "Regular insinuations                Her TO, who was married            No indication         No date given.
       (1979-1984)       and comments                        but involved with a restaurant     this was
                         about Duncan's sex                  manager, "made some                reported.             Only two cormments
                         life."                              remark that me and him                                   were
                                                             were involved sexually."                                 cited.
                                                             She said at roll call that was
                                                             interesting "because I don't
                                                             ever remember it." That                                  The officer she
                                                             took care of the problem.                                worked with is
                                                                                                                      the same one
                                                             An officer she worked with                               mentioned in
                                                             had a roommate who said, in                              No. 13 &amp; No.
                                                             front of others, that he found                           16.
                                                             a bra in his bed and assumed


*1134
                                                             it was Duncan's. She gave                                This is duplicative
                                                             him a smart remark back                                  of No. 16
                                                             that embarrassed him and
                                                             they traded barbs for the
                                                             next year. After that,
                                                             "actually, we got along
                                                             pretty well."
7      District Four    "Accused of having                   Does not know who made             No IAB                This is duplicative
       (1979-1984)       sex with a sergeant                 accusation.                        complaint             of No. 18.
                         on the captain's                                                       made.
                         desk."                              Occurred "throughout" the
                                                             time when she was first in
                                                             District Four.
8      District Four     "An officer with                    The officer was married and        No indication         No date given.
       (1979-1984)       whom Duncan was                     called a country music station     this was
                         partnered called a                  and had his girlfriend             reported.             This is the same
                         radio station frequently            announced "To Cindy out                                  officer who was
                         listened to                         there, your partner just                                 fired in No. 3.
                         by police officers                  wants you to know that he
                         and asked a DJ to                   thinks you are wonderful,
                         relay a [sexually                   and some other crap, and
                         suggestive] message                 some sexual thing." "That
                         to Duncan on the air                he thinks you are beautiful"
                         while they were                     and "wants to do it with
                         riding together."                   you." "She [his girlfriend] is
                         "...Duncan had                      laughing."
                         reason to believe
                         that other police                   "... all policemen are listening
                         officers heard the                  to the same country
                         radio                               music station."
                         announcement."
                                                             She was a "boot" then.
                                                             Boots were treated like dirt.
9      District Four    "Duncan's commanding                 The captain asked the sergeant     No indication         This remark
       (1979-1984)       manding officer [a                  if Duncan was giving               this was              was not made to
                         captain] asked a                    him "head" when he recommended     reported.             her or in her
                         sergeant who recommended            her to be a TO. She                                      presence.
                         her for a                           "doesn't know the context
                         promotion if Duncan                  ... because [she] only got it
                         was `giving him                      second-hand. ..."
                         head'. [He] asked if
                         Duncan was giving                    She asked the sergeant what
                         all the sergeants                    if all of the sergeants went
                         `head' when they                     and told the captain that
                         concurred in the                     they believed she would be a
                         recommendation.                      good TO. "So I was of the
                         Duncan did not get                   impression that he had gone
                         the promotion."                      to talk to [the captain], and
                                                              that basically [the captain]
                                                              said, Does she give you all
                                                              head or what?" She was
                                                              never allowed the opportunity                                                   to be a TO because the
                                                              class came and went.
10      District Four    "Capt.was                     She can only speak for             No indication        No dates given.
        (1979-1984)      generally hostile to                 herself regarding what the         this was
                         females under his                    captain did that she felt was      reported.            This is highly
                         command, made                        harassment.                                             speculative as
                         remarks about
                                                             to an improper
                         Duncan's breasts,                   He made remarks about her                                 motive.
                         and covered her                     breasts. He did not like
                         calls on the street to              police women. He "would
                         check up on her                     always seem to cover my
                         when he did not do                  calls." "This mean[t] that
                         the same for male                   sometimes he would get
                         officers under his                  there before I did, which is
                         command."                           highly unusual." It was a
                                                             way of intimidating her, you
                                                             always have to have your hat


*1135
                                                            on, do everything perfect.
                                                            She was not new then, no
                                                            longer a recruit. Does not
                                                            know whether he covered
                                                            recruits' calls.
                                                            She surmised that he did not
                                                            do this to male officers when
                                                            a male officer asked her
                                                            whether the captain always
                                                            covered her calls.
11     District Four     "Officerwho                 The officer was at her level.       No indication         No date given
       (1979-1984)       believed women did                 He did not believe women            this was              for the incident
                         not belong on the                  belonged on the job. He got         reported.             or the officer's
                         job, got on the police             on the air and said he would                              death.
                         radio and announced                refuse to cover me when
                         on the air that he                 they sent me to a bar fight
                         would not cover                    solo.
                         Duncan when she
                         got called to a bar                He is dead now.
                         fight and was working
                         solo."
12     District Four     "A dildo was put in                 District Four.                      No indication        The male officer
       (1979-1984)       the mailbox of another                                                  this was             is the same
                         other female police                A male officer showed                reported.            man who was
                         officer, Officer"           Duncan the dildo and told                                 fired in No. 2.
                                                            her how much fun he was
                                                            going to have tormenting
                                                            people with it. He apparently
                                                            put the dildo in the mailbox
                                                            The female officer believed
                                                            that the male officer
                                                            did it but accused Duncan
                                                            because she thought Duncan
                                                            was involved and Duncan
                                                            was a clerk.
13     District Four     "Comments and/or                   She was accused of having           No indication       One officer is
       (1979-1984)       allegations that                   an affair "with anyone I had        this was            the same one
                         Duncan was having                  as a partner." When asked           reported.           mentioned in
                         sexual relationships               to give a list, Duncan identified                       No. 6 &amp; No. 16.
                         with her [male]                    , a detective in the
                         partners,and                theft bureau ('89-'91),
                                                     in '81 or '82, andin '83.
14     District Four     "While on a                        District Four.                      No indication       This was an
       (1979-1984)       burglary call in a                 She named the officer. He           this was            effective self-help
                         dark basement, a                   put his arms around her and         reported.           help remedy.
                         fellow patrol officer              kissed her on the face. He
                         put his arms around                laughed and said it was no
                         Duncan and kissed                  big deal. "And we worked
                         her."                              that out." "It was wrong,
                                                            and I didn't appreciate it,
                                                            and it didn't happen anymore.
                                                            He just had to be
                                                            told."
15     District Four     "Another female officer            The woman referred to as a          According to          Duncan does
       (1979-1984)       was referred to                    split tail told Duncan that         Duncan's testimony,   not remember
                         as a `split tail' over             she "reported it."                  this was              if this was in
                         the police radio."                                                     "reported" by         District Four or
                                                            She does not remember if            the female            One.
                                                            this was in District Four or        officer.
                                                            One.                                                      There is no information
                                                                                                                      about
                                                                                                                      a response.
16     District Four     "Duncan's partner's                The pages cited do not support      No indication         No date given.
       (1979-1984)       roommate (also a                   this allegation. If the             this was
                         police officer) commented          plaintiff was referring to          reported.             This is duplicative


*1136
                         that he had                         pages 238-239, this reference                            of No. 6.
                         found a bra in his                  is duplicative of No. 6 above.
                         bed and assumed it                                                                           The same
                         was hers, implying                                                                           officer is mentioned
                         that she was having                                                                          in No. 6
                         a sexual relationship                                                                        &amp; No. 13.
                         with her partner
                         ___."
17     District Four     "A particular lieutenant           It was the lieutenant for          Not reported.          No date given.
       (1979-1984)       would call females                  whom she worked.
                         in after dark                                                                                The cited testimony
                         because he did not                "You don't report these                                    does not
                         want policewomen                   things. Nobody thought                                    support the
                         on the street at                   them to be a problem or a                                 allegation that                        night."                            crime. It is just what they                           this is sexual
                                                            did."                                                     harassment. It
                                                                                                                      appears to be a
                                                                                                                      protective
                                                                                                                      measure.
18     District Four    "Was accused of                     This is duplicative of No. 7.       No IAB complaint      This is duplicative
       (1979-1984)       having sex with a                  made.                               made.                 of No. 7.
                         sergeant on the
                         captain's desk."
19     District Four    "Duncan was forced                  Duncan called the captain in       No indication          No date given.
       (1979-1984)      to ask for a transfer               1 about moving to 1 midperiod      this was reported      Presumably this
                        from District 4 to                  because of harassment              other than to          was at or near
                        District 1 in midperiod             by the captain in 4.               the captain in 1.      the time of
                        period because of                                                                             transfer. The
                        the harassment of                                                                             remedy requested
                        [the captain in                                                                               was
                        District 4]."                                                                                 granted.
20     District One     "Throughout her                      District One.                      No indication         Duncan's testimony
       (1984-1988)      tenure at District                                                      this was              is inconsistent;
                        1, Duncan was                      "...when I got the next car          reported .            she
                        ostracized by fellow                up, it caused a lot of resentment                         said she was
                        officers and did not                with the men in that                                      ostracized and
                        receive cover from                  sector. They wouldn't take                                did not receive
                        fellow officers."                   me to coffee, they wouldn't                               cover, and then
                                                            cover my calls." "I basically                             said she had
                                                            worked a solo car ..."                                    friends who
                                                                                                                      would cover
                                                                                                                      her
                                                            The supervisor put me on
                                                            the car instead of taking a
                                                            vote to see whom they wanted,
                                                            which would have been
                                                            another officer, so they ostracized
                                                            me. "They didn't
                                                            want a woman there."
                                                            I got along fine without
                                                            them. I was used to working
                                                            solo. "That was what I
                                                            wanted, because I didn't
                                                            want to have a full-time
                                                            partner."
                                                            "I had a lot of friends who
                                                            would cover me and go to
                                                            lunch."
                                                            "I had to operate in not as
                                                            safe a level of police work
                                                            simply because I didn't have
                                                            backing."
                                                            "I never asked for cover."
                                                             That entire sector would not
                                                             cover her. "Unless I absolutely


*1137
                                                            called it out and said I
                                                            had to have cover."
21     District One     "A detective walked                 District One.                      No IAB complaint     This was an
       (1984-1988)      into a closet behind                                                   was made.            isolated
                        Duncan, put arms                    A named detective followed                              incident.
                        around her, pushed                  her into a closet, "put his
                        her against the                     arms like that," "put me up
                        shelves and tried to                against he shelves," and
                        kiss her on the                     tried to kiss me.
                        mouth."
22     District One     "She was ... more                   District One.                      No indication       The testimony
       (1984-1988)      often assigned to be                                                   this was            does not support
                        the clerk for her                   The supervisor "was known          reported.           the allegation
                        shift than male                     not to like women." "On                                that she
                        officers."                          numerous occasions," she                               was assigned
                                                            would be in a car and then                             more than male
                                                            be clerk. "[I]t started to be                          officers. In
                                                            a pattern ...." "[T]lley put                           some respects,
                                                            me on a scout car and I got                            it is inconsistent
                                                            moved off that."                                       with her testimony
                                                                                                                   in No. 20,
                                                                                                                   where she says
                                                                                                                   that the same
                                                                                                                   supervisor gave
                                                                                                                   her the next car
                                                                                                                   up, which
                                                                                                                   caused her to
                                                                                                                   be ostracized.
23     Detectives/      "Comments and/or                   In the theft bureau there          No IAB complaint     The cited testimony
       Crimes           allegations that                   were rumors she was having          was made.           does not
       Against          Duncan was having                  an affair with a named                                  support the
       Property         sexual relationships               detective.                                              allegation
       (1988-1991)      with two fellow                                                                            concerning the
                        detectives,___ and                 '89'91 time frame.                               other detective.
                        ____."
24     Detectives/      "While working one                  Although the plaintiff referemced    She did not       This is an
       Crimes           Sunday, a detective                 pages 275-275, it is                 report it.        isolated
       Against          grabbed Duncan and                  assumed she meant pages                                incident.
       Property         tried to kiss her on                275-276.
       (1988-1991)      the mouth."
                                                            One Sunday a detective
                                                            grabbed her body and kissed
                                                            her. She does not know if it
                                                            was on her mouth. He is
                                                            now retired.
                                                            The theft bureau.
25     Detectives/       "2-3 suggestive                   She was in the theft bureau.          No IAB complaint   There is no
       Crimes            notes left on her                                                       made.              indication that
       Against           desk by a fellow                   A named detective left two                              he repeated this
       Property          detective."                        or three notes on her desk                              conduct after
       (1988-1991)                                          saying he would like to go                              her request to
                                                            out with her, "I would like                             stop.
                                                            this, I would like that." She
                                                            confronted him about it and
                                                            asked him not to do that.
26     Detectives/      "Duncan asked for                   A sergeant, now retired in          No indication      There is no
       Crimes            an assignment in                   Florida, wanted her to work         this was           indication that
       Against          burglaries and was                  for him. He told Duncan             reported.          this was an
       Property         requested for the                   that the lieutenant said he                            adverse
       (1988-1991)      assignment by a sergeant,           would not allow Duncan to                              employment
                        the lieutenant                      transfer into burglaries                               action.
                        assigned to burglaries              because she was a woman.
                        refused to allow
                        hrt yo ytsndgrt into
                                                            She was in theft; in '91.
                        the unit because she
                        was a woman."                      The lieutenant is dead.


*1138
27     Detective/       "Regular remarks                    She was in the assault             No indication      The offensive
       Crimes           by a lieutenant of a                bureau.                            this was           conduct stopped
       Against          sexually suggestive                                                    reported.          when she spoke
       Persons          nature and unwanted                 The named lieutenant made                             to him. This
       (1991-1995)      physical contact                    remarks such as "You look                             was effective
                        by him."                            so nice today." "What are                             self-help.
                                                            you doing tonight? Do you
                                                            want to have a drink?" "He
                                                            would get close to you, brush
                                                            up against you in the elevators"
                                                            She got irritated at
                                                            him, said something. That
                                                            day or the next day he apologized
                                                            and said he had been
                                                            out of line and did not know
                                                            she was married.
28     Detective/       "Suggestive comments                 A named captain asked             No indication       These remarks
       Crimes            by her commanding                   Duncan if she could get           this was            do not appear
       Against           officer,                            him a date with Duncan's          reported.           to be hostile or
       Persons           that aside from her                 girlfriend.                                                         abusive.
       (1991-1995)       abilities, Duncan
                         `brought a lot to the               She was under his command
                         table' and other inappropriate      at the assault bureau.
                         remarks
                         by the same commanding             When she was going to do            She did not
                         officer."                          the sergeants test the captain      report this
                                                            said "It is not just your           incident.
                                                            abilities, as a police officer,
                                                            that would make you such a
                                                            good sergeant, because you
                                                            really do bring a lot to the
                                                            table." "And to me that was
                                                            full of quite a bit of innuendo."
                                                            "I assumed ... it
                                                            meant ... my personal physical
                                                            appearance." "[H]e was
                                                            sitting very close to me, and
                                                            he leaned over, and he said
                                                            it."
29     Detective/        "Hit on the buttocks                She tapped an officer on the        IAB Complaint       The refusal to
       Crimes            by an officer so hard               top of his left shoulder to ask     filed, Duncan       cooperate in the
       Against           that it left a bruise."             him to stand and allow her to       would not allow     investigation
       Persons                                               pass. He said "Now, what            pictures of the      ended it. A
       (1991-1995)                                           would you do if I touched           alleged bruise to    photograph was
                                                             you on your backside like           be taken, no         a routine
                                                             that?" And she said that "I         independent          procedure.
                                                             guess similar circumstances,        source to support
                                                             yeah, you could do the same         complaint
                                                             thing." Then he slapped her         so complaint
                                                             on her rear end. She could          could not be sustained
                                                             not sit; it was very painful.       No disciplinary
                                                             "It was really kind of red."        action
                                                              Her girlfriend saw it.             taken but commplaint
                                                                                                 made part
                                                                                                 of the file on the
                                                                                                 accused officer.
                                                                                                 (Letter to
                                                                                                 Duncan dated
                                                                                                 12/28/93, City's
                                                                                                 Exhibit D.)
                                                                                                The officer did
                                                                                                not engage in
                                                                                                similar conduct
                                                                                                again.
30     Detective/       "Accused of having                  She was on medical leave            No indication       This could not
       Crimes           sex with Dep. Chief                 from an accident when the           this was            be considered a
       Against          ___ on his desk."                   Deputy Chief was discovered         reported.           hostile or abusive
       Persons                                              in a sex act at headquarters                            act.
       (1991-1995)                                          with a woman. Her girlfriend


*1139
                                                             called Duncan and
                                                             told her that "People are
                                                             saying that it might even
                                                             be you by the way they
                                                             described her."
31     Detective/       "Was pressured by a                 This duplicates No. 28.            No indication        This is partly
       Crimes           superior officer to                                                    this was             duplicative of
       Against          get him a date with                 The captain "pushed it a           reported.            No. 28 and
       Persons          a woman Duncan                      number of times: Did you                                could not be
       (1991-1995)      knew."                              ever contact your                                       considered abusive
                                                            girlfriend?"                                            or hostile.
32     Detective/       "A superior officer                 The "she owed him" was             No indication        This is partly
       Crimes           told her `she owed                   a favor he wanted from            this was             duplicative of
       Against          him' after he supplsedly            Duncan, namely, to get             reported.            No. 28 and No.
       Persons          did her a                           him a date with her                                     31.
       (1991-1995)      favor."                             girlfriend.
33     Internal         "An officer who                     A detective said this. She         No indication        This could not
       Affairs          came into a unit to                 was wrapping presents, ties,       this was             be considered
       (1995-1996)      see another detective               for her husband and her            reported.            hostile or
                        remarked to                         father.                                                 abusive.
                        Duncan as she
                        wrapped a valentine's
                        gift for her
                        husband, "I understand
                        your valentine's
                        list is longer
                        than your Christmas
                        list."
34     Internal         "Allegations by officers          "[T]he guys in the info desk         No indication       This is an
       Affairs          manning the                        said they caughet [a superior]      this was            isolated
       (1995-1996)      front desk that they               touching my breasts, okay?          reported.           incident.
                        saw [a superior]                   That was a new rumor that
                        touching Duncan's                  got started. That never
                        breasts through the                occurred." "I don't remember"
                        cameras on the  outside            who told me that's what
                        of the head-quarters               was being said.
                        building."
35   Internal           "Chief Michaud                     Referenced pages (pp. 957-958)      No indication       There is nothing
     Affairs            caused her ranking                 were not provided by                this was            to indicate
     (1995-1996)        on the sergeant's                  the plaintiff.                      reported.           that this was
                        promotion list to be                                                                       done with a
                        lowered."                           Plaintiff's Exhibit 26 is a                            discriminatory
                                                            letter dated 4/5/96 from                               intent or a
                                                            Michaud to the Civil Service                           hostile reason.
                                                            Commission outlining the                               It did not affect
                                                            events which led up to                                 Duncan's
                                                            Duncan's change in ranks                               promotion to
                                                            with another female officer,                           sergeant.
                                                            moving Duncan up to number
                                                            27 from 28, stating he
                                                            believed the change to move
                                                            her up from her original
                                                            rank was inappropriate, and
                                                            requesting that the Sergeant's
                                                            Eligibility Register
                                                            be revised and returned to
                                                            its original rank order.
36      Internal        "Duncan was not                     She was in internal affairs.       No indication       The cited deposition
        Affairs         allowed to use a department         She was brand new. The             this was            testimony
       (1995-1996)      vehicle                             other two detectives were          reported.           does not support
                        when she was the                    veterans.                                              the allegation
                        on-call detective unless                                                                   that she
                        she made a formal                   She was treated "differently                           was treated
                        written request                     than the other two detectives"                         differently
                        to do so, whereas                   "When the detectives                                   because she was
                        the male detectives                 who were supposed to                                   a woman. Instead,
                        were allowed to use                 be on call with the car, when                          she testitied


*1140
                        the car at their own                they had the car, they didn't                           that she
                        discretion."                        have to ask to have the car                             was brand new
                                                            between this month and this                             and the veteran
                                                            month ... but ... [when] it                             detectives
                                                            was my time, I had to make                              received more
                                                            a formal letter and request                             favorable
                                                            it."                                                    treatment.
37      Internal        "Duncan's sergeant                  The same cited deposition           No indication       Again, the tone
        Affairs         monitored her comings               testimony is used to support        this was            and content of
        (1995-1996)     and goings in                       No. 36 &amp; No. 37.                    reported.           the testimony
                        the unit and did not                                                                        supports the
                        monitor the male                    She was brand new in                                    conclusion that
                        detectives."                        internal affairs,                                       she was treated
                                                                                                                    differently because
                                                            The supervisor monitored                                cause she was
                                                            her activity and treated her                            new. She did
                                                            differently "than the other                             not state that
                                                            two detectives." For example"                           she was treated
                                                            He let both detectives                                  differently
                                                            in IA go away at that time                              because she was
                                                            when we had a lot of hearings                           a woman. (See
                                                            and everything else.                                    I    No. 36.)
                                                            was brand-new. I had been
                                                            up there maybe two weeks.
                                                            He let both of the veteran
                                                            detectives go...."
38      District Four   "Allegations circulated             Hines testified that comments       Duncan initiated      No date given.
        (1996-2000)     that another                        about Duncan were                   an IAB complaints     Although unclear,
                        sergeant was transferred            called "Cindygate." That            about rumors          clear, presumably
                        from District                       she was having an affair with       circulating           this
                        4 to make room for                  the chief and that's the reason     and an investigation  occurred when
                        Duncan implying                     why she was transferred             was conducted.        Duncan transferred
                        that because she                    to District 4 out of IAB.           No violation          to
                        was having an affair                "...it was a forced transfer        was found.            District 4.
                        with [a chief] she                  with Sergeant Pinder to             (See No. 55.)
                        got to choose where                 IAB, because Sergeant
                        she wanted to go."                  Duncan came out on the
                                                            street when she made
                                                            sergeant."
39      District Four   "After Duncan was                   According to Hines, before          See No. 55            Hines' testimony
        (1996-2000)     assigned to District                Duncan was assigned out at          discussing            related to
                        4 and before she                    District 4, there were comments     Duncan's IAB          before Duncan
                        started her assignment,             about her relationship              complaint and         was assigned
                        allegations                         with Leary, Michaud, and            its investigation.    out at District
                        circulated that she                 Sanchez. As to Sanchez,             4.
                        was having affairs                  there were comments that
                        with command officers               Duncan received special
                        and would be                        treatment and promotions                                  The cited deposition
                        able to work any                    and transfers that other                                  testimony
                        detail she chose."                  people had not received.                                  does not identify
                                                                                                                      who "he" is.
                                                            Duncan testified: "He
                                                            thought that Andrews should
                                                            stay on the morning shift,
                                                            and he would move me to
                                                            day shift" so that he could
                                                            monitor the situation because
                                                            he worked days and
                                                            could make sure her environment
                                                            was better. She asked
                                                            him not to because "it will
                                                            just be more special
                                                            treatment."
                                                            He said that, before she            See JAB complaint    The rumors
                                                            came out, Lt. Leone asked           against              were not
                                                            him not to bring Duncan             Leone referenced     discriminatory
                                                            "here" because "She's a             in No. 42. because   they
                                                            pipeline to the administration                           affected male
                                                            because she's friends                                    supervisors


*1141
                                                            with them. She will tell                                  unfavorably as
                                                            them everything she don't                                 well as
                                                            like that goes on here, and                               Duncan.
                                                            I'll bet you within three
                                                            months, she'll be voting any
                                                            days she wants and working
                                                            days."
40      District Four   "Duncan was the                     Sanchez testified: Exhibits        See No. 55           These criticisms
        (1996-2000)     subject of two anonymous            37 &amp; 38 were two anonymous         discussing           were of the
                        letters circulated                  letters that floated around        Duncan's IAB         management of
                        throughout the                      more than department wide.         complaint and        the DPD and
                        department, which                   [He has seen several other         its investigation.   could not reasonably
                        alleged, among                      anonymous letters concerning                            be considered
                        other things, that                  Duncan. There was a                                     sidered hostile
                        Duncan received                     letter that referred to                                 or abusive of
                        choice assignments                  "Cindygate" and                                         Duncan.
                        because of her                      "concubine," and alleged a
                        relationship with                   sexual relationship between
                        Sanchez."                           Duncan and Leary. This
                                                            was sometime between 1995-1998.
                                                            Michaud was concerned
                                                            with Duncan's personal
                                                            safety.]
                                                            Exhibits 6 &amp; 7 are the alleged
                                                            anonymous letters:
                                                            Exhibit 6 contains the date
                                                            May 23,1997, so the letter
                                                            must have been written after
                                                            that date. Duncan is a small
                                                            part of the letter that is
                                                            addressed to "Dear Mr.
                                                            Mayor." Although Duncan
                                                            is one of many names in the
                                                            letter, it is an attack on the
                                                            "corrupt police administration"
                                                            and not directed at
                                                            Duncan.
                                                            Exhibit 7 contains a few
                                                            dates, the most recent is
                                                            March 1999. It also references
                                                            Duncan's transfer to
                                                            the academy and then to the
                                                            photo radar unit. Although
                                                            the bulk of the letter addresses
                                                            Sanchez's relationship
                                                            with Duncan, it is
                                                            directed toward Sanchez and
                                                            his alleged improper
                                                            relationships and abuse of
                                                            authority.
41      District Four  "Duncan was the                      There were other letters in         See No. 55         The reference
        (1996-2000)     subject of another                  addition to Exhibits 37 &amp; 38        discussing         to a threat to
                        anonymous letter,                   (plaintiffs Exhibits 6 &amp; 7).        Duncan's IAB       Duncan and
                        which accused her                   There was a letter that said        complaint and      Leary is an
                        of having an affair                 they were going to send one         its investigation. isolated event.
                        with Dep. Chief                     to her house, in hopes that
                        Leary. The author                   her husband, a cop, would
                        threatened to send a                get a gun and kill her and
                        similar letter to                   Leary. The Chief was
                        Duncan's home in                    concerned about it. This
                        an effort to get                    was prior to Exhibits 37 &amp;
                        Duncan's husband                    38.
                        to get a gun and
                        shoot them both."
42      District Four   "Lt. Leone told other               "I heard sergeants in the          Duncan initiated     The statements
        (1996-2000)     officers he was                     sergeants' office talk about       an IAB complaint     specifically referenced
                        going to follow Sgt.                how Leon[e] had bragged            against              in the
                        Duncan and the                      that he was going to follow        Lt. Leone. Her       12/11/97 IAB


*1142
                        Chiefs to see if he                 us [Sanchez, Leary or              issues with him     letter include
                        could catch them in                 Michaud] and try to catch us       were that he        rumors about
                        a compromising                      coming out of each other's         was spreading       Duncan,
                        position."                          homes. That was when I             rumors about        "Cindy-gate."
                                                            was in District 4."                her and             Leone's alleged
                                                                                               Michaud, Leary      statement that
                                                            Rumors about her and               and Sanchez,        he was going to
                                                            Michaud were called                his use of the      drive by her
                                                            Cindygate.                         Cindygate term,     residence and
                                                                                               his saying that     that Joe
                                                                                               he was going to     Duncan had
                                                                                               drive by her        observed Leone
                                                                                               house to catch      doing so, and
                                                                                               her with one of     rumors of her
                                                                                               the chiefs, and     walking out of
                                                                                               his telling         Sanchez's house
                                                                                               Sandoval not to     following the
                                                                                               let her come to     arrest of a sexual
                                                                                               District 4. (Nos.   assault suspect.
                                                                                               39, 42, &amp; 43).      They are
                                                                                                                   not evidence of
                                                                                               IAB investigated    gender hostility
                                                                                               and found no        toward the
                                                                                               corroboration       plaintiff.
                                                                                               for statements
                                                                                               contained in
                                                                                               Duncan's complaint.
                                                                                               The
                                                                                               complaint
                                                                                               against Leone
                                                                                               was determined
                                                                                               "Unfounded."
                                                                                               (12/11/97 IAB
                                                                                               letter, City's
                                                                                               Exhibit G.)
                                                                                                Duncan is not
                                                                                                aware of any
                                                                                                further rumors
                                                                                                spread by
43    District Four     "Lt. Leone was                      There is reference made to           See IAB complaint      Same comment
     (1996-2000)        seen by Duncan's                    District 4.                          against                as No. 42.
                        husband cruising                                                         Leone referenced
                        slowlyu by their                                                         in No. 42
                         home."                             Joe Duncan testified:                enced in No.  42.
                                                            He does not know what
                                                            Leone looks like. "I saw
                                                            somebody that fit his
                                                            description drive by my
                                                            house" once.
44    District Four   "Lt. ___ repeatedly                   While explaining about               Duncan complained      The complaint
     (1996-2000)      use the term `woolies                 handling internal affairs            and IAB                resulted in
                      to describe                           complaints, "Lt. ___ starts          investigated the       reasonable
                      female genitalia during               telling me about woolies."           lieutenant's           remedial
                      a conversation                        He repeated it at least 12           February 1997          action.
                      with Duncan in his                    times and was talking about          actions. He was
                      office."                              a woman's genital area.              given a written
                                                                                                 reprimand and
                                                            Duncan's testimony about             ordered to attend
                                                            the lieutenant is made in the        a Remedial
                                                            context of Duncan explaining         Sexual Harassment
                                                            to another lieutenant why            Class.
                                                            she would not complain               (6/4/97 IAB
                                                            about a sergeant's actions of        letter, City's
                                                            walking out on her role call,        Exhibit F.) The
                                                            talking down to her in front         lieutenant was
                                                            of people, etc. "I'm going to        also transferred.
                                                            go and tell [the lieutenant]
                                                            about subtle things that this        Duncan never
                                                            man obviously would never            worked with or
                                                            understand?"                         had any interactions


*1143
                                                                                                with this
                                                                                                lieutenant again.
45    District Four     "Lt.___ confronted                 The lieutenant asked Duncan          This was part of      This cannot be
     (1996-2000)        Duncan during the                  to come into his office and          IAB investigation     considered hostile
                        pendency of an                     "... I felt very badly because       and disciplinary      or offensive
                        internal affairs investigation     cause I actually did like [this      action.               conduct.
                        into the                           lieutenant], and I felt bad          (See No. 44.)
                        `woolies' comments                 how all this thing went
                        and accused her of                 down...." He asked her
                        stabbing him in the                "Why did you do this?" "I
                        back."                             liked you." "I thought you
                                                            were an excellent sergeant
                                                            ...." "Why would you
                                                            stab me in the back?"
                                                            She said, among other
                                                            things, "I didn't know it was
                                                            going to all end up this way.
                                                            Originally, it was because of
                                                            Sgt. ___, I said, and it just
                                                            turned out this way, and
                                                            that's all I can tell you."
46    District Four     "Over a two-year                    Pre-disciplinary meeting            IAB investigation     Appropriate
     (1996-2000)        period from 1997                    transcript The transcript           and the sergeant     remedial action
                        through 1998, Sgt.                  provides that disciplinary          was disciplined       was taken.
                         ___ regularly discussed            action was recommended              with a
                        Duncan's sex                        "based upon the following           suspension of 60
                        life and speculated                 information and this is not         days and ordered
                        about her various                   intended to be a complete           to attend
                        partners in a public                summary of the case file;           Remedial Training
                        restaurant in front                 For a period of time between        on Sexual
                        of other command                    January of 1997 and April of        Harassment
                        officers, including                 1998, Sergeant __ patronized        issues.
                        sergeants and lieutenants,          the Breakfast King                  (City's Exhibits
                        and within                          Restaurant.... Over this            H, I &amp; J; plaintiff's
                        earshot of other                    period ... he engaged in            Exhibit 9.)
                        restaurant                          several conversations with
                        patrons."                           Mr. __, the night shift             Other than a
                                                            manager, as well as fellow          letter the sergent's
                                                            District Four sergeants.            lawyers
                                                            These discussions focused on        wrote to the
                                                            Sergeant Cynthia Duncan             mayor about
                                                            and included a number of            Duncan, since
                                                            specific sexual references as       April 1998, she
                                                            well as ... adverse comments        is not aware of
                                                            on her job capabilities             any statements
                                                            .... [S]ome of these conversations  he made about
                                                            were heard by                       her. The
                                                            other restaurant patrons and        sergeant was
                                                            employees."                         transferred to
                                                                                                District 2 in
                                                            According to the transcript,        April 1998.
                                                            the sergeant admitted his
                                                            conduct was reprehensible,
                                                            disgusting, mean-spirited,
                                                            and immature.
47    District Four     "Sgt. ___ criticized                This is part of No. 46 and          This was investigated         See No. 46.
     (1996-2000)        her abilities as a                  references the same                 and the
                        command officer to                  transcript.                         sergeant was
                        both fellow sergeants                                                   disciplined.
                        and at least                                                            (See No. 46.)
                        one civilian."
48    District Four     "Sgt. ___ was disrespeciful         The initial complaint she           Duncan testified            See Nos. 46 &amp;
     (1996-2000)        and undermined                      made about him was more             that she complained         47.
                        Duncan's                            about him being rude, discourteous  about
                        authority, walked                   courteous and condescending         his rude and discourteous
                        out of roll calls she               as opposed to comments of a         behavior
                        was conducting."                    sexual nature.                      for as well as his
                                                                                                comments of a


*1144
                                                            The second complaint                sexual nature.
                                                            against this sergeant was           Presumably this
                                                            "when all the sexual things         was part of the
                                                            occurred." His remarks got          investigation
                                                            worse after he was transferred      referenced in
                                                            back to the morning                 No. 46 &amp; No. 47.
                                                            shift; his remarks did not
                                                            become the focus of the
                                                            complaint until the second
                                                            complaint.
49    District Four     "A lieutenant in AIB                The referenced deposition                                Date unknown.
     (1996-2000)        initiated a complaint               testimony is not included in                             Even assuming
                        against Duncan after                the plaintiffs exhibits.                                 this allegation is
                        Duncan asked                                                                                 true, this conduct
                        that he be removed                                                                           does not
                        from the [sergeant's]                                                                        establish
                        investigation                                                                                discrimination
                        because he                                                                                   against Duncan
                        had been rude and                                                                            based on her
                        disrespectful."                                                                              sex.
50    District Four     "Ostracized by                       Two named sergeants                 No indication       This is a consequence
     (1996-2000)        fellow sergeants                     "wouldn't sit with me or anything   this was            of the
                        Who wanted to get                    thing when ___ came back to         reported.           conduct of the
                        along with __ because                the morning shift and I was                             sergeant who
                        he was the                           on Detail 4. They wouldn't                              was appropriately
                        senior sergeant on                   sit with me, but then when                              disciplined.
                        the detail."                         he wasn't working on a day                              (See
                                                             off, they would come and sit                             Nos. 46-48.)
                                                             with me."
51    District Four     "In June 1999, a                     During a discussion about           Duncan initiated      No date given
     (1996-2000)        subordinate officer,                 how many points they got in         IAB complaint         but this occurred
                        [man], made a crude                  their ratings, the officer          against this officer  during a
                        remark to Duncan                     commented: "when I                  They both             Rockies game
                        while both were on                   [Duncan] said I have gone           received written      they were
                        duty, implying                       everywhere and done everything      reprimands.           working. This
                        Duncan slept                         [but had a 5.2 rating],                                   is an isolated
                        around."                             he said, Yes, that                                        is what I
                                                             heard. And he started                                     random
                                                             laughing."                                                comment.
52    District Four     "When Duncan filed                  Duncan said: "Make no mistake,      This was investigated    This discipline
     (1996-2000)        an internal affairs                 take, I said, if you say one        and both                 was not gender
                        complaint against                   more thing and I will fucking       received reprimands      motivated.
                        Officer ___, she too                file on you" and raised her         See No.
                        was disciplined for                 index finger. She could not         51.
                        using a cuss word in                believe she might be filed on
                        response to [his] improper          for losing her temper.
                        comment."
                                                            She got a written reprimand
                                                            for using profanity and he
                                                            got a reprimand for what
                                                            they considered to be inap
                                                            propriate innuendo.
53    District Four     "Magazine article                   Testimony supports statement.         IAB investigated     No date given,
     (1996-2000)        left in Duncan's interoffice                                              statement            but the article
                        teroffice mailbox                                                         made by Lt.          appears in the
                        with a cartoon of a                 Plaintiffs Exhibit 12 is article;     Bown, when he        June 1998
                        naked woman in a                    "9 reasons why men                    was shown the        Glamour magazine.
                        bathtub and sub-headings            envy you." It is contained in         article by           zinc. It could
                        headings in the article             a Glamour magazine, written  Duncan. Bown         not reasonably
                        such as `Orgasms                    by a man and states                   said it was not a    be considered
                        That Don't Cause                    "Men are Jealous of Women."           "female thing"       hostile and abusive
                        Flood Damage' and                   The subheadings cited                 but a "Cindy         to women.
                        Breasts that                        by Duncan are just two of             Duncan thing."
                        Work'."                             them, but they were the ones
                                                            Duncan testified that she             Lt. Bown reported
                                                            found offensive. Other                the incident
                                                            headlines include "Pasta              and he was
                                                            Therapy," "Great Bathroom             exonerated.


*1145
                                                            Escapes," "Makeup Magic,"
                                                            "Cheerleading squads,"               (10/7/98 IAB
                                                            "Public displays of expression,"     letter referencing
                                                            and "More life                       7/98 incident,
                                                            choices."                            City's Exhibit
                                                                                                 L.)
                                                            Briefly summarized, the
                                                            article is about "[t]he
                                                            female habits, pleasures and
                                                            treasures that men secretly
                                                            covet."
54    District Four     "Duncan's work was                  Duncan had her papersher      No testimony         Although no
     (1996-2000)        undermined, paperwork               "job historyin a notebook     that this was        date was given,
                        was removed                          and showed it to some sergeants     reported.            she testified, in
                        from her desk, her                  who had not taken                                         the referenced
                        application for the                 the test and were curious                                 pages, that she
                        lieutenant's exam,                  about the process. "Somebody                              took the test
                        which had been left                 body got in my car and                                    "[m]aybe two
                        in a patrol car, was                threw my job history, which                               years ago,"
                        removed from the                    was the only copy I had, and                              which would
                        car and found in                    threw it into Lakewood." A                                have been about
                        Lakewood by a                       Lakewood man found them.                                  November 1997.
                        citizen."                                                                                     It is undue
                                                            No supporting testimony                                   speculation that
                                                            was provided in the cited                                 this action was
                                                            pages for her allegation that                             done by a male
                                                            her work was undermined or                                police officer or
                                                            that paperwork was removed                                that it was gender
                                                            from her desk.                                            motivated.
55    District Four     "Accusations that                   The same testimony of Hines         In January 1996,     No date given
     (1996-2000)        she was having affairs              that was used to support No.        Duncan initiated     but refers to
                        with Chief                          38 is used to support allegation    an IAB complaint     the reason for
                        Michaud, Dep. Chief                 No. 55. Hines testified             about rumours,       Duncan's transfer
                        Sanchez and Dep.                    that comments about Duncan          alleging             to District 4
                        Chief Leary with                    were referred to as                 Detective Anne       out of IAB.
                        the situation being                 "Cindygate," and there were         Woods initiated
                        dubbed `Cindygate'."                "different things" about            them. IAB invesigated
                                                            Duncan's relationship with          determined
                                                            the chief and handling of a         that
                                                            sex assault in front of the         rumor resulted
                                                            chiefs home.                        from a conversation
                                                                                                between
                                                                                                Woods and
                                                                                                Duncan, and
                                                                                                found the case
                                                                                                "Not Sustained."
                                                                                                (3/28/96 letter,
                                                                                                plaintiff's Exhibit
                                                                                                17; 3/19/96
                                                                                                IAB letter,
                                                                                                City's Exhibit
                                                                                                E.)
                                                            Duncan testified: Cindygate         Duncan is unaware     No date given.
                                                            was about her and Michaud,          aware of any
                                                            Sanchez, and Leary. "I was          further rumors        Duncan's testimony
                                                            told that it was about              being circulated      establishes
                                                            Leon[e] saying that he was          thereafter by Woods.  the rumors
                                                            going to topple this administration                       are gender
                                                            with the information                                      neutral.
                                                            he has and he said, And my          Leone was investigated.        They were directed
                                                            information I've entitled           (See at "toppling"
                                                            Cindygate. And he was implying      No. 42.)                       the
                                                            that I was having sex                                              administration
                                                            with all three chiefs." "Apparently                                and not to her
                                                            Leon[e] dubbed it                                                  based on her
                                                            Cindygate."                                                        gender.
56    District Four     "Chief Michaud                       Sanchez testified: Cindygate  Duncan initiated           No date given.
     (1996-2000)        went to roll call at                 "was the word that described           a complaint
                        District 6, said he                  the fact that Chief Michaud's         about rumors               This is the same


*1146
                        was there to dispel                  administration was going to        and JAB conducted    subject matter
                        rumors and announced                 fall because of this Cindygate     an investigation     as No. 55.
                        that, `he                            thing, because of this              (See
                        was not having an                    sexual liaison."                    No. 55.)            Michaud's conduct
                        affair with Cindy                                                                            could not
                        Duncan'."                           There were rumors that              Leone was also       reasonably be
                                                            Michaud was involved with           investigated.        considered anything
                                                            Duncan, living outside the           (See No. 42.)       other
                                                            city and getting a divorce all                           than an effort
                                                            going on at the same time.                               to stop the
                                                            "He [Michaud] felt that this                             rumors.
                                                            rumor situation was out of
                                                            control, and he wanted to
                                                            stop it. He felt that if he
                                                            went to some of the roll calls
                                                            in District 6 [the largest district]
                                                            ... that he, maybe,
                                                            could nip this and make it go
                                                            away."
                                                            Michaud told Sanchez that
                                                            Michaud was going to try
                                                            and dispel "each of these rumors
                                                            ... the divorce, living
                                                            out of the city, Cindygate,
                                                            that sort of thing." Michaud
                                                            told Sanchez "he discussed
                                                            all of these issues with the
                                                            officers at roll call," including
                                                            telling the officers he
                                                            was not having an affair with
                                                            Duncan.
                                                            Coogan testified: Michaud                       No date given.
                                                            told her he went to a roll call
                                                            and announced he was not
                                                            having an affair with Duncan.
                                                            He indicated Leone
                                                            was connected to the term
                                                            Cindygate.
 57  District Four     "On two occasions                    When Duncan was a sergeant          No indication        It is highly
     (1996-2000)        when Duncan was                     about '98, there were               this was             speculative that
                        covering dangerous                  two examples of when she            reported.            this was gender
                        calls, she requested                did not get cover. One involved                          motivated.
                        cover and failed to                 a fight between two
                        get it until dispatch               men and a woman. She
                        assigned a cover                    called for cover, did not get
                        car."                               cover until she called again
                                                            and "they ordered somebody
                                                            to get there." The other
                                                            time was when she went to a
                                                            domestic and her cover did
                                                            not come for 15 minutes.
58    District Four     "Duncan was transferred             Heather Coogan "offered me          No indication        No date given
     (1996-2000)        to the Police                       to go to the academy." I did        this was             but on pages 2-3
                        Academy against                     not want to go, it was an           reported.            of her
                        her wishes to a non-sergent         hour away from my house,                                 Response brief,
                        sergeant position."                 winter was coming and I had                              Duncan states,
                                                            a sports car, I only have five                           without supporting
                                                            minutes to District 4. I never                           reference,
                                                            wanted to go there.                                      that she
                                                                                                                     was transferred
                                                                                                                     to the Police
                                                            She left the academy to go to                            Academy in
                                                            traffic because: she had a                               August 1999,
                                                            non-sergeant position at the                             assigned to the
                                                            academy, the only vacant position                        photo radar
                                                            available was a technician                               unit in traffic in
                                                            spot. "But due to the                                    December 1999,
                                                            circumstances, they sent me                              and went on
                                                            out there [academy]." When                               medical leave in


*1147
                                                           the photo radar program                                   June 2000.
                                                           came in they had to put a
                                                           sergeant in there, "I was the                             There is no
                                                           only sergeant in a non-sergeant                           evidence to
                                                           position," Dep.                                           support
                                                           Chief Abrams called me, said                              Duncan's perception
                                                           I did not have to go there,                               that this
                                                           but he would appreciate me                                was an adverse
                                                           taking on the program. "So                                action.
                                                           that is what I did."
                                                           She went on medical leave
                                                           from traffic. The reason
                                                           was because: "there was an
                                                           incident when I was working
                                                           a Rockies game ...."

APPENDIX A
NOTES
[1]  These dates were obtained from pages 2-3 of the plaintiff's response brief. Ms. Duncan testified, however, that she went on medical leave in June 1999 after she complained about an officer while she was in traffic. (Duncan Depo., pp. 840, II. 23 to 842 II. 20.) She testified that she went to traffic in December 1998. (Duncan Depo., p. 50, II. 11-15.) Further, Ms. Duncan's counsel stated during oral argument that Ms. Duncan was transferred from District 4 to the Academy in the summer of 1998.
[2]  In addition, there were at least two other IAB investigations of events which were not included in Ms. Duncan's listed events. First, she initiated a complaint against an officer for remarks about a new rumor about her, made while he was off duty installing blinds for a civilian, a retired detective. IAB investigated and concluded any violation was unfounded because it was a private conversation between an off-duty officer and a recently retired officer. (9/29/99 IAB letter, City's Exhibit N.) Second, there was an IAB investigation of a lieutenant for a statement made to the effect that if this was Vietnam, Ms. Duncan would be "fragged" by now. IAB found the allegation against the lieutenant "not sustained." (10/20/98 IAB letter, City's Exhibit M.)

